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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   HUNTINGTON DIVISION


UNITED STATES OF AMERICA

v.                                                    CRIMINAL ACTION NO. 3:10-00111-09

MOISES GAMBOA


                          MEMORANDUM OPINION AND ORDER

        Pending before the Court is Moises Gamboa’s pro se letter for release (ECF No. 801).

Gamboa argues that a reduction in sentence is warranted for two reasons. First, Defendant points

to the spread of the novel coronavirus in prisons. Second, Defendant argues that his sentence of

200 months of incarceration is excessive under 18 U.S.C. § 3553(a).

        While the Court is sympathetic to Defendant’s concerns regarding the coronavirus and

looks favorably on his rehabilitative efforts, he has not demonstrated extraordinary and

compelling reasons for release. Defendant’s medical records show that he does not have any

preexisting conditions which place him at risk of severe complications if he contracts COVID-

19. The mere possibility of contracting the illness is not a sufficiently “extraordinary and

compelling” reason to justify a reduction in sentence under 18 U.S.C. § 3582(c)(1)(A)(i). See,

e.g., United States v. Feiling, No. 3:19cr112 (DJN), 2020 WL 1821457, at *7 (E.D. Va. Apr. 10,

2020) (reasoning that “the fear of contracting a communicable disease proves insufficient to

justify a sentence modification” (internal quotations omitted)). Additionally, the Court finds that

200 months incarceration (which reflects the Court’s downward variance from the sentencing

guidelines) is not excessive for the reasons stated at Gamboa’s sentencing hearing. See ECF No.

721.
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       Finally, even if Defendant alleged extraordinary and compelling reasons for release, the

Court has no authority to reduce Defendant’s sentence where—as here—he has not demonstrated

that he “has fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons

to bring a motion” or that thirty days have lapsed “from the receipt of such a request by the

warden of the defendant’s facility.” See 18 U.S.C. § 3582(c)(1)(A).

       The Court accordingly DENIES the Motion (ECF No. 801), and DIRECTS the Clerk to

send a copy of this Order to counsel and the defendant, the United States Attorney’s Office, the

United States Probation Office, and the United States Marshals Service.


                                              ENTER:          January 22, 2021




                                             ROBERT C. CHAMBERS
                                             UNITED STATES DISTRICT JUDGE
